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                         UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Stewart N. Abramson,
                                                     Case No.:
                    Plaintiff,
                                                     NOTICE OF REMOVAL PURSUANT TO
        v.                                           28 U.S.C. §§ 1331, 1441 AND 1446

Evolve Bank & Trust

                       Defendant.


        NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

       Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Evolve Bank & Trust

(“Evolve”) hereby gives notice of removal of this action, entitled Stewart N. Abramson v. Evolve

Bank & Trust, Case No. AR-13-003227, from the Court of Common Pleas of Allegheny County,

Civil Division, to the United States District Court for the Western District of Pennsylvania. As

grounds for removal, Evolve states as follows:

       1.       On July 29, 2013, plaintiff Stewart N. Abramson (“Plaintiff”) commenced the

State Court Action in the Court of Common Pleas of Allegheny County, Pennsylvania. The

Court of Common Pleas of Allegheny County, Pennsylvania is within this judicial district and

division.

       2.       Evolve first received notice of the State Court Action by service of the Summons

with the attached Complaint, the first pleading, notice, order or other paper from which it could

be ascertained that this action is removable, on or after July 31, 2013. This Notice of Removal is

timely filed as thirty days since service of the summons has not yet expired. See 28 U.S.C. §

1446(b).

       3.       The State Court Action is a civil action of which this Court has original

jurisdiction under 28 U.S.C. § 1331, and is one which may be properly removed pursuant to
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provisions of 28 U.S.C. §§ 1441 and 1446, as the claims asserted in the Complaint arise under

the laws of the United States and raise a federal question.

           4.      The federal statutes and regulations in question include, without limitation, the

Telephone Consumer Protection Act of 1991, 47 U.S.C. § 227, et seq.

           5.      The district courts of the United States have original jurisdiction in civil actions

arising under the Telephone Consumer Protection Act of 1991. See 28 U.S.C. § 1331 (“The

district courts shall have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States”); Mims v. Arrow Fin. Svcs. LLC, 132 S. Ct. 740 (2012)

(“Congress did not deprive federal courts of federal-question jurisdiction over private TCPA

suits.”)

           6.      Specifically, Plaintiff’s Complaint alleges that “Defendant Evolve Bank & Trust,

or an agent acting on their behalf, initiated of made [a call] to Plaintiff’s cellular telephone using

an automatic telephone dialing system, without Plaintiff’s prior express consent in violation of

47 U.S.C. 227(b)(1)(A)(iii)” See Compl., at ¶ 14.

           7.      Evolve removes the State Court Action to The United States District Court for the

Western District of Pennsylvania because it is the venue which encompasses Allegheny County,

Pennsylvania. Evolve removes this action without prejudice to Evolve’s right to seek transfer of

this action pursuant to 28 U.S.C. § 1404.

           8.      True and correct copies of the following are attached to this Notice of Removal:

                   (a)    all process, pleadings and orders which have been served upon the Evolve

in this action, including the Complaint, Summons, and 10 Day Notice of Intent To File a

Praecipe to Enter Judgment By Default served on Evolve (attached hereto as Exhibit A), in

accordance with 28 U.S.C. § 1446(a);




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                (b)    the Notice of Filing of Notice of Removal Plaintiff of Removal (attached

hereto as Exhibit B), which will be promptly served upon Plaintiff and filed with the Clerk of

the Court of Common Pleas for Allegheny County, Pennsylvania, in accordance with 28 U.S.C.

§ 1446(d).

        9.      This Notice of Removal is signed in accordance with Rule 11 of the Federal Rules

of Civil Procedure.

        10.     Based upon the foregoing, this action is properly removed on the basis of federal

question jurisdiction pursuant to 28 U.S.C. §§ 1331, 1441 and 1446.

        WHEREFORE, this action is hereby removed to this Court from the Court of Common

Pleas of Allegheny County, Pennsylvania. Plaintiff is hereby notified to proceed no further in

state court.



                                             Respectfully submitted,

                                             /s/ Gretchen Woodruff Root
                                             Gretchen Woodruff Root, Esquire
                                             Pa. I.D. No. 309683
                                             Email: groot@reedsmith.com

                                             REED SMITH LLP
                                             Firm No. 234
                                             225 Fifth Avenue
                                             Suite 1200
                                             Pittsburgh, PA 15222
                                             Phone: 412-288-3131
                                             Counsel for Evolve Bank & Trust
Dated: August 29, 2013




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                               CERTIFICATE OF SERVICE

       I, Gretchen Woodruff Root, hereby certify that on this 29th day of August, a copy of the

foregoing Notice of Removal was served via first class mail upon the following:

                                    Stewart N. Abramson
                                    522 Glen Arden Drive
                                    Pittsburgh, PA 15208

                                        Pro Se Plaintiff




                                                           /s/ Gretchen Woodruff Root
                                                           Gretchen Woodruff Root
